The Public Utilities Commission of the Territory of Hawaii sought an injunction to restrain the respondents-appellees from operating as a common carrier of passengers upon the public highways within the City and County of Honolulu without first obtaining a certificate of public *Page 399 
convenience and necessity as required by chapter 82 of the Revised Laws of Hawaii 1945, as amended.
After hearing, the respondents were permanently enjoined from transporting persons who, "without previous call or demand" to or upon the respondents, presented themselves at any intermediate points between Aiea and Honolulu. The Commission now appeals, contending that the respondents' entire operation should have been enjoined.
The cause was submitted to the trial court upon the following admitted facts: Respondents, with the exception of Skeen and Espiritu who are no longer related to the enterprise, operate daily passenger automobile service upon the public highways in the City and County of Honolulu between Honolulu and Aiea, and, each acting in concert with the other respondents, for the price of twenty-five cents per passenger, provides daily service at more or less regular time intervals between said points during the period from 7 o'clock a.m., to 7 o'clock p.m. Passengers on the Honolulu to Aiea trip board the vehicles at the Honolulu terminus located immediately Ewa of the Standard Cab premises at 24 South Pauahi Street. Ninety-five per cent of the passengers on the Aiea to Honolulu trip board the vehicles at the Aiea terminus in front of the Aiea Appliance Store. Prior to entry of the injunction below, the remaining five per cent using the respondents' service between Aiea and Honolulu boarded at intermediate points between the termini. None of the respondents has applied for or obtained a certificate of public convenience and necessity.
Section 4701, Revised Laws of Hawaii 1945, as amended, in so far as applicable, defines a "public utility" as including "* * * every person who may own, control, operate, * * * any * * * equipment * * *, directly or indirectly for public use, for the transportation of passengers *Page 400 
* * *; provided, however, the term `public utility' as used in this chapter: * * * (2) shall not include persons owning or operating taxicabs, as defined herein; * * *.
"The term `taxicab' as used in this section shall mean and include any vehicle designed to carry passengers, operating for hire solely on call or demand from a fixed stand, and transporting passengers making such call or demand, with or without baggage, on the public highways between such points as may be directed by such passengers."
The sole issue presented is whether the respondents' operation, as detailed above is embraced within the definition of a "taxicab" as that term is defined in section 4701, (supra).
We deem it unnecessary to discuss respondents' argument as to whether the legislative history of section 4701, (supra) demonstrates that the legislative intent prompting the enactment of the present definition of "taxicab" was to exclude the respondents from the jurisdiction of the Public Utilities Commission, since such legislative intent is clearly expressed in the House Committee Report (House Journal, Special Session, pp. 420, 421, 1949) and the Senate Committee of the Whole Report (Senate Journal, Special Session, p. 367, 1949) both of which read:
"The purpose of this Bill is to make certain that the country to city taxicab is not treated as a common carrier by and under the jurisdiction of the Public Utilities Commission. There are several operators of motor vehicles who operate their vehicles as taxicabs between country areas and Honolulu who, by the very nature of their operation tend to start from the same places, carry the same people, and stop at the same places. It is believed that it is not the intention nor the desire of the legislature *Page 401 
to include these operators under the provisions of the Public Utilities Act."
"As to the general rule applicable in the construction of statutes there can be no doubt. The object is always to ascertain and give effect to the intention of the legislature. `This intention, however, must be the intention as expressed in the statute, and where the meaning of the language is plain, it must be given effect by the courts, * * *.' 36 Cyc. 1106, 1107." (Irwin v. Ahia, 29 Haw. 1, 5.) "The intention of the legislature is to be obtained primarily from the language used in the statute. * * * Where the language of the statute is plain and unambiguous there is no occasion for construction and the statute must be given effect according to its plain and obvious meaning." (Kauai v. McGonagle, 33 Haw. 915, 920.)
Confronted with the plain and unambiguous statutory requirement that "The term `taxicab' * * * shall mean * * * any vehicle * * * transporting passengers * * * between such points as may be directed by the passengers." (§ 4701, supra), we are unable to accept the construction of the statute urged by the respondents because "* * * quod voluit non dixit. What was intended was not expressed." (Castle  Cooke v. Luce, 5 Haw. 321, 324.) "While it is always the aim of courts to so construe statutes as to carry out the intention of the legislature, that intention in order to be given effect must be expressed in the statute or reasonably appear from the language used." (Territory v. ChoyDan, 20 Haw. 1, 3); "`But a statute should not be extended beyond the fair and reasonable meaning of its terms because of some supposed policy of the law, or because the legislature did not use proper words to express its meaning.' [36 Cyc. 1112, 1113.] * * *. If it has turned out that the application of
[the statute] * * * has not accomplished but defeated theunexpressed purpose of the legislature the remedy is not with usbut *Page 402 with the law-making body." (Honolulu Rapid Transit Co. v.Wilder, 30 Haw. 685, 690.) (Emphasis added.)
From the facts before us, the respondents' vehicles would perhaps more appropriately be termed "jitneys." The distinction between a taxicab and a jitney service was recognized inSouthern Brooklyn Ry. Co. v. Schaves, 387 N.Y. Supp. 939, wherein: "The charge made and collected was one of 5 cents a passenger for conveyance between Sea Gate and Stillwell Avenue, or any portion of that distance. The taxicabs were not hired by one person. Sometimes they were used by but one individual, but often they were used by five. The fare charged was not for the use of the taxicab for the distance traveled, but was for carrying each passenger, and each passenger paid his own fare. In fact, the defendants were operating a jitney service, and their cars were not being used as taxicabs."
We conclude that the portion of the statutory definition requiring that passengers be transported "* * * between such points as may be directed by such passengers" (§ 4701 supra) is decisive of the contentions urged by the respondents. In our opinion the plain and obvious meaning of this language requires the respondents to operate in a manner which affords their passengers control over the point at which they board the vehicle and the terminus at which they disembark. The respondents operating as they do between two fixed termini, thus fail to meet the requisites of the statutory definition of "taxicab" (§ 4701,supra).
Concluding as we do, that the operation of the respondents are not included within the "taxicab" exception to the jurisdiction of the Public Utilities Commission (§ 4701, supra), their entire operation should have been enjoined below, unless and until they procured a certificate of public convenience and necessity. (Chapter 82, Revised Laws of Hawaii 1945, as amended.) *Page 403 
Remanded for further proceedings in conformity with this opinion.